               Case 5:24-cv-00519-OLG-HJB                   Document 22        Filed 04/04/25        Page 1 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the

                                                 __________
                                                     WesternDistrict
                                                             Districtofof
                                                                       __________
                                                                          Texas

                    Mark Anthony Ortega                           )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 5:24-CV-00519-OLG-HJB
                                                                  )
    Secure One Capital Corporation, Bruce Michael                 )
           Edgell, and Ryan William Marier                        )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Bruce Michael Edgell
                                       18482 Huntington St., Apt A,
                                       Huntington Beach, CA 92648




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Mark Anthony Ortega
                                       P.O. Box 702099,
                                       San Antonio, TX 78270




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT , PHILIP J. DEVLIN


Date:             04/04/2025
                                                                                     Signature of Clerk or Deputy Clerk
                Case 5:24-cv-00519-OLG-HJB                       Document 22         Filed 04/04/25              Page 2 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 5:24-CV-00519-OLG-HJB

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                              ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                          , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                              ; or

           ’ I returned the summons unexecuted because                                                                                ; or

           ’ Other (specify):
                                                                                                                                              .


           My fees are $                           for travel and $                  for services, for a total of $            0              .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                       Reset
               Case 5:24-cv-00519-OLG-HJB                  Document 22         Filed 04/04/25        Page 3 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the

                                                __________
                                                    WesternDistrict
                                                            Districtofof
                                                                      __________
                                                                         Texas

                    Mark Anthony Ortega                           )
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                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 5:24-CV-00519-OLG-HJB
                                                                  )
    Secure One Capital Corporation, Bruce Michael                 )
           Edgell, and Ryan William Marier                        )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Ryan William Marier
                                       517 Emerald Bay
                                       Laguna Beach, CA 92651




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Mark Anthony Ortega
                                       P.O. Box 702099,
                                       San Antonio, TX 78270




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT , PHILIP J. DEVLIN


Date:             04/04/2025
                                                                                     Signature of Clerk or Deputy Clerk
                Case 5:24-cv-00519-OLG-HJB                       Document 22         Filed 04/04/25              Page 4 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 5:24-CV-00519-OLG-HJB

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           on (date)                               , and mailed a copy to the individual’s last known address; or

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           ’ I returned the summons unexecuted because                                                                                ; or

           ’ Other (specify):
                                                                                                                                              .


           My fees are $                           for travel and $                  for services, for a total of $            0              .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                       Reset
